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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
MERCY WELLINGTON, Case No.
Plaintiff,
-against- COMPLAINT
THE CITY OF NEW YORK, a municipal entity; Jury Trial Demanded

Adams, Mayor of New York City; New York City Police
Department (NYPD); NYPD Commissioner THOMAS G.
DONLON; LT. DARRYL E. FONTAINE (Tax ID 937820);
POLICE OFFICER RAWSAN A. JACKSON (Shield No. 26636);
POLICE OFFICER KYLE M. LAGUARDIA (Shield No, 6801);
POLICE OFFICER KELVIN VILLEGASALMAZO (Shield No.
7782); POLICE OFFICER JOHN DOES # 1-4, individually

and in their official capacities (the name John Doe being
fictitious, as their true names are presently unknown); PERRY
PERLMUTTER, President and CEO of Services for the
Underserved (S:US)}; ANGELA MORTIMER, Program Director
at Harmonia 8:US, individually and in their official capacities;
LYNN GORE, Administrative Assistant at Harmonia S:US,
individually and in their official capacities; THE STATE OF
NEW YORK; LETITIA “TISH” JAMES, Attorney General

for New York State; Human Resources Authority (HRA);
MOLLY WASOW PARK, Commissioner of Department of
Social Services (DSS); Department of Homeless Services (DHS);
New York City Department of Housing Preservation and
Development (HPD), ADOLFO CARRION JR.,

Commissioner of the New York City Department of Housing
Preservation and Development (HPD),

Defendants.
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Plaintiff, MERCY WELLINGTON, pro-se for her Complaint alleges as follows:

NATURE OF ACTION

1, Plaintiff Mercy Wellington, Pro-Se, brings this seemingly expansive action against

private individuals, agencies, and New York City employees.
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2. This is action at law to redress the deprivation of rights secured to Plaintiff under color
of statute, ordinance, regulation, custom, and deprivation of rights, privileges, and immunities
secured to the Plaintiff by the Fourth and Fourteenth Amendment to the Constitution of the United
States, the Fair Housing Act, New York City Humann Rights Laws, by the Title 42 U.S.C §§ 1983
and 1983, and further arising under the law and statutes of the State of New York.

3. Plaintiff in furtherance of her causes of action brought under New York State law filed
a timely Notice of Claim against the City of New York in compliance with the Municipal Law
Section 50 and in accordance with New York State law.

4, Plaintiff has not been noticed for a General Municipal Law § 50-h hearing.

JURISDICTION AND VENUE

5. The jurisdiction of this Court is invoked under 28 U.S.C. § 1343, this being an action
authorized by law to redress the deprivation of rights secured under color of state law, statute,
ordinance, regulation, custom, privileges, and immunities secured to the Plaintiff by the Fourth
and Fourteenth Amendment to the Constitution of the United States. Jurisdiction of this Court
exists under Plaintiff's Fourth and Fourteenth Amendment claims pursuant to 42 U.S.C. §§ 1983
and 1988.

6, This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 to hear state law
causes of action.

7. Plaintiffs is seeking declaratory relief pursuant to 28 U.S.C. § 2201 et seq.

8. Venue is proper in the Southern District of New York pursuant to 28 U.S.C. § 1391 (b).
The Southern District of New York is the judicial district where the shelter and arrest in questioning
is located, where Defendants have a principal place of business, work, and where the facts giving

rise to the instant claims occurred.
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JURY DEMAND

9. Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a
trial by jury in this action.

PARTIES

10. Plaintiff Mercy Wellington is a 54-year-old domestic violence survivor at all times
relevant was a resident of New York.

11. Defendant, Mayor Eric L. Adams, is the Chief Executive Officer of the City of New
York.

12. Defendant, Letitia “Tish” James, is the Attorney General for the State of New York.

13. Defendant, Police Commissioner Thomas G. Donion, is the Chief Executive of the New
York City Police Department.

14. At all times hereinafter mentioned, Defendant, THE CITY OF NEW YORK
(hereinafter “City”) was and still is a municipal corporation organized and duly existing under and
pursuant to the laws of the State of New York.

15. Atall times relevant hereto, the City, acting through Department of Homeless Services
(hereinafter “DHS”), Department of Social Services (hereinafter “DSS”), Human Resource
Administration (hereinafter “HRA”), New York City Housing Preservation and Development
(hereinafter “HPD”), and New York Police Department (hereinafter “NYPD”), was responsible for
the policy, practice, supervision, implementation, and conduct of DHS, DSS, HRA, HPD, and
NYPD matters, including the appointment, training, supervision, retention, control, and conduct
of all DHS, DSS, HRA, HPD, and NYPD personnel. In addition, at all times relevant, the City was

responsible for enforcing the rules of DHS, DSS, HRA, HPD, and NYPD and for ensuring that
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DHS, DSS, HRA, HPD, and NYPD personnel obey the laws of the United States, State of New
York, and the City of New York.

16. Defendant, HRA, is an administrative department of the City of New York.

17. Defendant, DSS, is an administrative department of the City of New York.

18. Defendant, HPD, is an administrative department of the City of New York.

19. Defendant, DHS, is an administrative department of the City of New York.

20. Defendant, Molly Wasow Park, is the Commissioner of the New York City Department
of Social Services.

21. Defendant, Molly Wasow Park, in her official capacity, and Defendants HRA, DSS,
DHS has as the mission of fighting poverty and income inequality by providing New Yorkers in
need with essential benefits such as food assistance, medical assistance, emergency rental
assistance, quality and affordable housing.

22. Defendant, Adolfo Carrion Jr., in his official capacity, and Defendant HPD have as their
mission the promotion of quality housing and diverse neighborhoods. HPD accomplishes this
mission through loan and development programs for new affordable housing, preserves the
affordability of existing housing stock, and enforces housing quality standards.

23. Defendant, Perry Perlmutter, is the President and CEO for Underserved (hereinafter
“S:US8”).

24. Defendant, New York City Police Department (hereinafter “NYPD”) was and still is a
subdivision subject to the control of the City.

25. Upon information and belief, NYPD is a division of the City organized and existing
under and by virtue of the laws of the City and the State of New York.

26. Defendant, the City is responsible for the policies, practices and customs of NYPD.
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27. Defendant, Police Lieutenant Darryl E. Fontaine, Tax ID #937820, (hereinafter
“Fontaine”) was at all relevant times, a police officer of the New York City Police Department,
acting in the capacity of agent, servant, employee of the City, and acting within the scope of his
employment and under color of state law.

28. Defendant, Police Officer Rawsan A. Jackson, Shied No. 26636, (hereinafter
“Jackson”) was at all relevant times, a police officer of the New York City Police Department,
acting in the capacity of agent, servant, employee of the City, and acting within the scope of his
employment and under color of state law.

29, Defendant, Police Officer Kyle M. Laguardia, Shield No. 6801, (hereinafter
“Taguardia”) was at all relevant times, a police officer of the New York City Police Department,
acting in the capacity of agent, servant, employee of the City, and acting within the scope of his
employment and under color of state law.

30. Defendant, Police Officer Kelvin Villegasalmazo, Shield No. 7782, (hereinafter
“Villegasalmazo”) was at all relevant times, a police officer of the New York City Police
Department, acting in the capacity of agent, servant, employee of the City, and acting within the
scope of his employment and under color of state law.

31. At all times hereinafter mentioned, Defendants, Police Officers, are being sued
individually and in their official capacities.

32. Defendants, Police Officers John Does #1-4, were at all relevant times, police officers
of the New York City Police Department, acting in the capacity of agent, servant, employee of the
City, and acting within the scope of his employment and under color of state law.

33, At all times hereinafter mentioned, Defendants, Police Officers John Does #1-4 are

being sued individually and in their official capacities.
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FACTUAL ALLEGATIONS

34. On or About August 10, 2023, Plaintiff lived in Harmonia adult shelter under S:US with
her three children, when she was provided with an email sent to DHS by Defendant Lynn Gore,
the Administrative Assistant at Harmonia.

35. The email was sent to Jameel Morad, Administrative Director of Social Services at
DHS. The email requested that Plaintiff and her family be logged out from the shelter. A response
was received from him confirming the request (see Exhibit “F” for more details).

36. Once Plaintiff received a copy of such emails, she contacted Jameel Morad from DHS,
who informed her that he was not aware of any logged-out requests regarding her and her family.

37. On or about August 12, 2023, Plaintiff still lived in a homeless shelter with her three
children. [he shelter was provided through DHS. Since August 14, 2022, Plaintiff resided at
Harmonia adult shelter run by Services for the Underserved (S:US), located at 12 East 31* Street,
New York, NY 10016.

38. On or about August 12, 2023, at approximately 10:00 a.m., a staff member working at
the shelter knocked on the unit door and informed Plaintiff that the program director logged me
out of the shelter because Plaintiff violated the 48 hours curfew. Plaintiff was told that she had 1
hour to pack my belongings and return to AFLIC (adult intake into the shelter). Plaintiff requested
a hearing but was denied.

39, Plaintiff requested to see documentation from DHS approving the logout but was given
an email that was sent to DHS. Plaintiff took the letter she was given to PATH. At PATH a staff
member informed her that it was showing up in their system that she was logged out. Plaintiff was

told to return back to the shelter.
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AQ. On or about August 13, 2023, Plaintiff was harassed by shelter staff telling me that she
needs to leave the premises. Staff members knocked on my door, and after she opened my door
the staff members placed their feet in the door with trash bags in their hands telling her that she
needed to pack her property.

41. They left Plaintiffs door after I requested a pre-discharge notice. Plaintiff also filed a
harassment notice at the local precinct that same day (August 13, 2023).

42. On or about August 14, 2023, Plaintiff was given another email stating that she was
logged out for violating the 48-hours curfew rule. Plaintiff contacted councilman Keith Powers
office for help regarding this matter.

43. On or about August 14, 2023, Plaintiff contacted Nelly Vazquez from DHS regarding
the logout. Mr. Vazquez responded back stating she was logout and needed to return back to AFLIC
(see Exhibit “G” for more details).

44, Councilman Keith Powers contacted the shelter who allowed Plaintiff to stay the night
in the shelter.

45. On or about August 15, 2023, at approximately 9:00 A.M. at 12 East 31% Street, New
York, NY 10016, Plaintiff went downstairs to speak with Defendant Angela Mortimer, the Program
Director regarding the log out. Plaintiff asked Defendant why she was logging her out, who
informed her there was a big meeting and the bosses were coming down on her because they
weren’t getting any payment for Plaintiff and her children to stay there. Plaintiff reminded her of
the agreement they had regarding why she wasn’t signing the Night Sheet. One reason was because
Plaintiff worked most night, and the second reason was because she requested a DHS case

conference (see Exhibit “C” for more details).
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46, On or about August 15, 2023, at approximately10:00 A.M. at 12 East 3 1* Street, New
York, NY 10016, S:US called NYPD on Plaintiff.

47. Once NYPD arrived on the scene, the staff at S:US informed LT. Fontaine and the other
officers that Plaintiff had broken shelter rules for my family, due to that reason she had been logged
out, and they needed to remove her cand her children from the premises. When Plaintiff asked for
documentation stating that she had been logged out from DHS, Lt. Fontaine informed her when he
went to the back office with Defendant Angela Mortimer that she had been logged out, that she
was trespassing, so they had the right to arrest her for trespassing.

48. NYPD officers forcefully arrested Plaintiff and removed me from the premises. The
NYPD officers were escorted upstairs to the two rooms Plaintiff children and her were residing in
to collect my kids and escort them off the premise.

49. Upon being escorted from the premises, Plaintiff children and her properties and
personal belongings such as our clothes, devices (laptop, air pods), identifications (ID’s, birth
certificate, passports, social security cards), wallets, credits cards, ete. still remain in their rooms.

50. After Plaintiff children were escorted off the premises, S:US would not allow her
children to enter in order to collect their belongings. Plaintiff children contacted the NYPD
requesting a police escort so that they could enter the premises to collect their belongings.

51. Officers escorted Plaintiff in handcuffs to a squad car where she was later taken
Midtown Precinct South located at 357 West 35" Street, New York, NY 10001. Plaintiff was held
at the precinct inside a jail cell for 1-2 hours while still in her pajamas and shippers.

52, After 1-2 hours, Plaintiff was given Summons and released from police custody.

53. Upon her release Plaintiff remained in front of the police precinct while she waited for

her children to meet her, so that they were able to get a police escort to collect their belongings.
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54. After waiting and frequent calls to request an escort, Plaintiffs children return back to
the shelter (S:US) after Officers arrived to escort them to collect their belongings.

55. Even with a police escort staff members refused to allow Plaintiff's children to enter
the premises to collect their belongings, but instead informed them that they will bring out their
belongings. Staff members placed their belongings in garbage bags and brought them out through
the service door in the bins used to take out trash. Their belongings were placed on the sidewalk
next to other garbage bags (that also contains garbage). See Exhibit “D” of pictures taken of their
belongings in garbage bags placed on the sidewalk by S:US staff members.

56. While still on the sidewalk, Plaintiff's children started looking through the garbage
bags to collect a few changes of clothes as they could not carry everything by hand, since they had
no way of transporting them or a place to stay. Plaintiff requested that S:US hold on to the
remaining bags that they could not carry with them until they return to collect the rest.

57. On or about August 16, 2023, later in the afternoon after renting a U-Haul truck,
Plaintiff and her children returned to 8:US to collect the remaining bags.

58. Upon searching through the bags Plaintiff's children noticed some of their properties
were missing. They placed their bags with their belongings in a family friend’s storage unit.
Plaintiff and her children then filed a police report for our missing property.

59.1 was traumatized by being arrested again as this was not the first time NYPD was
weaponized against me (see Exhibits “A” and “B” for more details).

60. On or about August 15, 2023, after placing our belongings in a family friend’s storage
unit, Plaintiff and her children return to PATH at about 11:00 P.M. Plaintiff spoke with a worker
and informed the worker about what occurred. PATH staff puiled up Plaintiff's case and informed

her although her case shows that S:US logged her out, Plaintiff case was still active.
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61. Upon learning that her case was still active, Plaintiff requested to speak to the legal
department. The staff worker at PATH scheduled her an appointment to speak with legal as her
case was still active.

62. On or about August 16, 2023, at approximately 8:00 A.M. after Plaintiff had checked
in for her appointment to speak to an attorney from PATH Legal Department, she received a call
from one of the attorneys working there advising her that her case was not active and for that
reason he could not keep her scheduled appointment to speak to the legal department. Please note
that Plaintiff's case was closed on August 17, 2023.

63. Upon learning that she was unable to speak to an attorney, she decided to leave PATH
to seek help elsewhere.

64. On or about August 21, 2023, Plaintiff requested a State Fair Hearing.

65, On or about August 28, 2023, Plaintiff filed an illegal lockout case in New York Civil
Court. Some of her missing properties were returned after the Civil Court Order allowing her to
return to S:US to retrieve her property (see Exhibit “E” for more details).

66. On or about September 25, 2023, Plaintiff filed a Claim with the Comptroller’s Office.
Claim No. 2023P1031331.

DAMAGES/INJURIES

67. Plaintiff suffered and continues to suffer from public humiliation, embarrassment,
shame, damage to reputation, indignity, loss of liberty, deprivation of her constitutional rights, and

suffered emotional and mental distress.

FIRST CAUSE OF ACTION
42 U.S.C, § 1983- Against Individual Defendants

68. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully set

forth at length herein.
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69. Plaintiff claims damages for the injuries set forth above against Defendants LT.
DARRYL E. FONTAINE (Tax ID 937820), POLICE OFFICER RAWSAN A. JACKSON (Shield
No. 26636), POLICE OFFICER KYLE M. LAGUARDIA (Shield No. 6801); POLICE OFFICER
KELVIN VILLEGASALMAZO (Shield No. 7782), for violation of her constitutional rights under
the color of law, in an amount to be determined by a jury after due trial.

SECOND CAUSE OF ACTION
42 U.S.C. § 1983- Against the City DHS, DSS, HRA, HPD, and NYPD

70. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully set
forth at length herein.

71. Before August 15, 2023, the City, DHS, DSS, HRA, HPD, and NYPD developed and
maintained policies or customs exhibiting deliberate indifference to the constitutional rights of
persons in New York City, which caused the violation of the Plaintiff's rights.

72. It was the policy and/or custom of the City, DHS, DSS, HRA, HPD, and NYPD to
inadequately and improperly investigate citizen complaints of misconduct.

73. It was the custom and policy of the City, DHS, DSS, HRA, HPD, and NYPD to
inadequately supervise, train, retain, and hire employees, including the named agencies and
officers, thereby failing adequately to discourage further constitutional violations on the part of
their employees.

74. Defendant HPD deprived Plaintiff of her property interest when they terminated her
voucher after her false arrest and removal from S:US. Plaintiff was deprived of her property
interest without notice or a chance to be heard.

75. Defendant DHS and DSS actions in logging her out and closing her case, thus
terminating her housing placement at S:US. This termination deprived Plaintiff of her right to

shelter. It is a legal right providing that anyone in New York City without a place to live is
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guaranteed safe, decent, appropriate shelter. Defendants DHS and DSS took actions against
Plaintiff's case without giving her proper notice.

76. Defendant $:US deprived Plaintiff of her constitutional rights when they weaponized
the NYPD to have her arrested and removed from her and her children off the premises.

77, As a result of the above-described policies and customs, employees of the City, DHS,
DSS, HRA, HPD, and NYPD, including the named Defendants believed that their actions would
not be properly monitored by supervisory officers and that misconduct would not be sanctioned or
investigated, but would be tolerated.

78. The above-described policies and customs demonstrated a deliberate indifference on
the part of the policymakers of the City, DHS, DSS, HRA, HPD, and NYPD to the constitutional
rights of persons within the City and were the cause of the violations of Plaintiff's rights alleged
herein.

79. Plaintiff claims damages for the injuries set forth above against the City, DHS, DSS,
HRA, HPD, and NYPD for violations of her constitutional rights under the color of law, 1D an
amount to be determined by a jury after due trial.

THIRD CAUSE OF ACTION
42 U.S.C. 8 1983- 4!" and 14 Amendment, False Arrest

80. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully set

forth at length herein.

81. The individual Defendants were working within the scope of their authority when they
committed the actions described above, thereby falsely arrested, falsely imprisoned, confined, and

detained Plaintiff without privilege.
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82. The wrongful, unlawful arrest, seizure, apprehension, and detention of Plaintiff was
without probable cause or privilege.

83. The individual Defendants were careless, reckless, and negligent in that they did have
probable cause to arrest, apprehend, seized, and detained Plaintiff.

84. Throughout this period, Plaintiff was unlawfully and unjustifiably held under arrest,
unreasonably seized, deprived of liberty, and falsely charged.

85. The individual Defendants named herein deliberately undertook these actions and their
misconduct occurred without any fault or provocation from Plaintiff.

86. The individual named Defendants acted under the pretense and color of state law, Their
actions were beyond the scope of their authority, intentionally depriving Plaintiff of her
constitutional rights secured by the Fourth and Fourteenth Amendment.

87. As a result of the aforesaid misconduct, Plaintiff sustained injuries, including but not
limited to emotional and psychological injuries.

88. As a result of the aforesaid arrest, seize, apprehend, detention, Plaintiff sustained
personal injuries, along with public humiliation, embarrassment, shame, damage to reputation,
indignity, loss of liberty, deprivation of her constitutional rights, and suffered emotional and mental
distress, in the amount to be determined by a jury after due trial.

FOURTH CAUSE OF ACTION
42 U.S.C. § 1983- 4" and 14" Amendment, Excessive Force

89. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully set

forth at length herein.

90. The individually named Defendants herein did not have probable cause to arrest, seize,

apprehend, and/or detain Plaintiff.
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91. The use of excessive force by the Officer Defendants, by amongst other things, seizing
and tightly handcuffing her, constituted objectively unreasonable physical seizures of Plaintiff in
violation of her rights under the Fourth and Fourteenth Amendments of the Constitution of the
United States and to be free of a deprivation of liberty under the Fourteenth Amendment of the
Constitution of the United States.

92. Officer Defendants were at all times agents, servants, and employees acting within the
scope of their employment, and under the pretense and color of state law (City of New York and
NYPD), which ae therefore responsible for their conduct.

93. As a result of the aforesaid misconduct, Plaintiff sustained injuries, including but not
limited to emotional and psychological injuries.

94. As a result of the aforesaid arrest, seize, apprehend, detention, Plaintiff sustained
personal injuries, along with public humiliation, embarrassment, shame, damage to reputation,
indignity, loss of liberty, deprivation of her constitutional rights, and suffered emotional and mental
distress, in the amount to be determined by a jury after due trial.

FIFTH CAUSE OF ACTION

Negligent Hiring, Retention, Training and Supervision (Defendants the City DHS,
DSS, HRA, HPD, and NYPD

95, Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully set
forth at length herein.

96. Defendants owed a duty of care to Plaintiff.

97, Defendant City and its employees, servants and/or agents, acting within the scope of

their employment, did negligently hire, retain, train, and supervise individual named Defendants.
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98. Defendants individually named and NYPD breached their duty of care by acting among
other things, seizing and tightly handcuffing Plaintiff. As a direct and proximate result of such acts,
the Defendants deprived Plaintiff of her rights under the laws of the State of New York.

99, All of the foregoing occurred without any fault or provocation by Plaintiff.

100. Defendants were at all times agents, servants, and employees acting within their
scope of their employment by the City, DHS, DSS, HRA, HPD, and NYPD, which are therefore
responsible for their conduct.

101. Defendant the City, as the employer of the Officer Defendants and other employees,
is responsible for their wrongdoing under the doctrine of respondeat superior.

102. Asa result of the aforementioned conduct of the Defendants, Plaintiff sustained
injuries, including but not limited to emotional and psychological injuries.

103. As a result of the aforementioned arrest, seize, apprehend, detention, Plaintiff
sustained personal injuries, along with public humiliation, embarrassment, shame, damage to
reputation, indignity, loss of liberty, deprivation of her constitutional rights, and suffered emotional
and mental distress, in the amount to be determined by a jury after due trial.

SIXTH CAUSE OF ACTION

Negligent Hiring, Retention, Training and Supervision (Defendants the Perry
Perlmutter, $8:US, Angela Mortimer, Lynn Gore)

104. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully
set forth at length herein.
105. Defendants owed a duty of care to Plaintiff.

106. Defendant S:US deprived Plaintiff of her liberty when they falsely had her arrested

and removed off the Harmonia S:US premises.
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107. Defendant Angela Mortimer and Lynn Gore’s actions in logging her out and closing
her case, thus terminating her housing placement at $:US, deprived Plaintiff of her right to shelter.

108. Defendants Lynn Gore and Angela Mortimer deprived Plaintiff of her constitutional
rights when they weaponized Defendant NYPD to have her arrested and removed her and her
children off the premises.

109. Defendants individually named and S:US breached their duty of care by acting
among other things, making false statements to have Plaintiff arrested for trespassing. As a direct
and proximate result of such acts, the Defendants deprived Plaintiff of her rights under the laws of
the State of New York.

110. Allof the foregoing occurred without any fault or provocation by Plaintiff.

111. As aresuit of the aforementioned conduct of the Defendants, Plaintiff sustained
injuries, including but not limited to emotional and psychological injuries.

112. As a result of the aforementioned arrest, seize, apprehend, detention, Plaintiff
sustained personal injuries, along with public humiliation, embarrassment, shame, damage to
reputation, indignity, loss of liberty, deprivation of her constitutional rights, and suffered emotional
and mental distress, in the amount to be determined by a jury after due trial.

SEVENTH CAUSE OF ACTION

42 U.S.C. § 1983- 4 and 14 Amendment, Failure to Intervene (City and
NYPD

113. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully

set forth at length herein.
114. The individually named Defendants who did not physically touch Plaintiff, but

were present when other officers violated Plaintiff's Constitutional Rights had an affirmative duty
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to intervene on behalf of Plaintiff, whose constitutional rights were being violated in their presence
by other officers.

115. At no subsequent point did any of the individually named Defendants herein
attempt to intervene and prevent the unlawful arrest, and use of excessive force against Plaintiff.

116. The individually named Defendants herein were present and witnessed other
Defendants falsely arrest/unreasonably seize/detain and use excessive force against Plaintiff.

117. Asa result of the foregoing, Plaintiff suffered personal injury, her liberty was
restricted for an extended period, she was put in fear of her safety and was humiliated.

118. Asa direct and proximate result of such acts, the Defendants deprived Plaintiff of
her rights under the laws of the United States and the New York State.

119. The name Defendants were at all times agents, servants, and employees acting
within the scope of their employment by the City and NYPD, which are therefore responsible for
their conduct.

120. The City, as the employer of the Defendants, is responsible for their wrongdoing
under the doctrine of respondeat superior.

121. As aresult of the aforesaid arrest, seize, apprehend, detention, Plaintiff sustained
personal injuries, along with public humiliation, embarrassment, shame, damage to reputation,
indignity, loss of liberty, deprivation of her constitutional rights, and suffered emotional and mental
distress, in the amount to be determined by a jury after due trial.

EIGHTH CAUSE OF ACTION
42 U.S.C. § 1983- 4" and 14 Amendment, Failure to Intervene (State of New

York)

122. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully

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set forth at length herein.
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123. At no subsequent point did Defendant the State of New York herein attempt to
intervene and/or prevent the denial/discontinuance of emergency shelter for Plaintiff and her
children at a family-based shelter. Defendant’s failure to intervene lead to Plaintiff and her family
having te enter AFLIC (adult intake shelter), even though her children were under the age of 21
(the age required to enter AFLIC). Due to Defendant the State of New York failure to intervene,
Plaintiff was placed in in one of Defendant S:US adult shelters (Harmonia).

124. At no subsequent point did Defendant the State of New York herein attempt to
intervene and/or prevent the denial of Plaintiff's request to be place back in a family-based shelter
with her children after her fair hearing (sec Exhibit “IZ” for more details).

125. At no subsequent point did Defendant the State of New York herein attempt to
intervene and/or prevent the logout by Defendant S:US (see Exhibit “I” for more details). Fair
Hearing Case No. 8648248L.

126. Asaresult of the aforesaid failure to intervene, Plaintiff sustained personal injuries,
along with being falsely arrested, and suffering emotional and mental distress in the amount to be

determined by a jury after due trial.

NINTH CAUSE OF ACTION
Defendants NYPD and Individually Named Officers Violation of Plaintiff's AC 8-

$02 Rights

127. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully

set forth at length herein.

128. The acts of individually named officers constituted conduct under the color of any
law, ordinance, rule, regulation, custom, or usage.

129. The act of Defendants caused Plaintiff to be deprived of her rights under 2021

N.Y.C. Local Law No. 48 N.Y.C. Admin. Code §§ 8-802; to wit: to be secure in her person, house,
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papers, and effects against unreasonable seizures, and to be secure against the use of excessive
force regardless of whether such force is used in connection with a seizure.
130. The Defendants while in uniform unlawfully seized Plaintiff, before detaining the
Plaintiff, and further causing her detention.
TENTH CAUSE OF ACTION

Defendants NYPD and Individually Named Officers Failure to Intervene in
Violation of Plaintiff’s AC 8-802 Rights

131. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully
set forth at length herein.

132. The acts of individually named officers constituted conduct under the color of any
law, ordinance, rule, regulation, custom, or usage.

133. The act of Defendants caused Plaintiff to be deprived of her rights under 2021
N.Y.C. Local Law No. 48 N.Y.C. Admin. Code §§ 8-802; to wit: to be secure in her person, house,
papers, and effects against unreasonable seizures, and to be secure against the use of excessive
force regardless of whether such force is used in connection with a seizure.

134. Defendants that did not physically touch Plain tiff, but were present when other
officers violated Plaintiff’s AC 8-802 right against unreasonable seizure and excessive force had
an affirmative duty to intervene on behalf of Plaintiff, whose constitutional rights were being
violated in their presence by other officers.

135. Defendants failed to intervene to prevent the unlawful conduct described herein,
thereby failing in their duty to intervene to protect Plaintiff from violation of her rights.

136. Asaresult of the aforesaid arrest, seize, apprehend, detention, Plaintiff sustained

personal injuries, along with public humiliation, embarrassment, shame, damage to reputation,
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indignity, loss of liberty, deprivation of her constitutional rights, and suffered emotional and mental

distress, in the amount to be determined by a jury after due trial.

ELEVENTH CAUSE OF ACTION
Defendant the City’s Liability for Defendants Individually Named Officers’
Violation of Plaintiff’s AC 8-802 Rights

137. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully
set forth at length herein.

138. Individually named Officers are “covered individuals” as defined in 2021 N.Y.C.
Local Law No. 48 N.Y.C. Admin. Code §§ 8-801 in that they are employees of the Police
Department or persons appointed by the Police Commissioner as a Special Patrolmen.

139. The City of New York, as the employer of the covered individual Defendant
Officers’, is liable to Plaintiff for the wrongdoing of the covered individual Defendant Officers.

140. The acts of individually named officers constituted conduct under the color of any
law, ordinance, rule, regulation, custom, or usage.

141. The act of Defendants caused Plaintiff to be deprived of her rights under 2021
N.Y.C. Local Law No. 48 N.Y.C. Admin. Code §§ 8-802; to wit: to be secure in her person, house,
papers, and effects against unreasonable seizures, and to be secure against the use of excessive
force regardless of whether such force is used in connection with a seizure.

142. The Defendants while in uniform unlawfully seized Plaintiff, before detaining the
Plaintiff, and further causing her detention.

143. Asa result of the aforesaid arrest, seize, apprehend, detention, Plaintiff sustained
personal injuries, along with public humiliation, embarrassment, shame, damage to reputation,
indignity, loss of liberty, deprivation of her constitutional rights, and suffered emotional and mental

distress, in the amount to be determined by a jury after due trial.
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TWELFTH CAUSE OF ACTION
Defendant the City’s Liability for Defendants Individually Named Officers’ Failure
to Intervene in Violation of Plaintiff's AC 8-802 Rights

144. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully
set forth at length herein.

145. Individually named Officers are “covered individuals” as defined tn 2021 N.Y-C.
Local Law No. 48 N.Y.C. Admin. Code §§ 8-801 in that they are employees of the Police
Department or persons appointed by the Police Commissioner as a Special Patrolmen.

146. The City of New York, as the employer of the covered individual Defendant
Officers’, is liable to Plaintiff for the wrongdoing of the covered individual Defendant Officers.

147. The acts of individually named officers constituted conduct under the color of any
law, ordinance, rule, regulation, custom, or usage.

148. The act of Defendants caused Plaintiff to be deprived of her rights under 2021
N.Y.C. Local Law No. 48 N.Y.C. Admin. Code §§ 8-802; to wit: to be secure in her person, house,
papers, and effects against unreasonable seizures, and to be secure against the use of excessive
force regardless of whether such force is used in connection with a seizure.

149. Defendants that did not physically touch Plaintiff, but were present when other
officers violated Plaintiffs AC 8-802 right against unreasonable seizure and excessive force had
an affirmative duty to intervene on behalf of Plaintiff, whose constitutional rights were violated in
their presence by other officers.

150. As a result of the aforesaid arrest, seize, apprehend, detention, Plaintiff sustained
personal injuries, along with public humiliation, embarrassment, shame, damage to reputation,
indignity, loss of liberty, deprivation of her constitutional rights, and suffered emotional and mental

distress, in the amount to be determined by a jury after due trial.
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THIRTEENTH CAUSE OF ACTION
Violation of Article I § 12 of the New York State Constitution

151. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully
set forth at length herein.

152. Such conduct breached the protections guaranteed to Plaintiff by the New York
State Constitution, including but not limited to Article I §§ 11 and 12, and including the following
rights:

i. freedom from unreasonable search and seizure of her person and property;

ii. from arrest without probable cause;

iii. freedom from false imprisonment, that being wrongfully detained without good faith

reasonable suspicion, or legal justification;

iv. freedom from the lodging of false charges against her by police officers;

vy. freedom from deprivation of liberty without due process of law.

153. Asadirect and proximate result of the Defendants’ deprivation of Plaintiff's rights,
privileges guaranteed by the New York State Constitution, Plaintiff suffered emotional and
psychological injuries, as well as deprivation of liberty.

154. As aresult of the above tortious conduct, Plaintiff was caused to suffer emotional
and psychological injuries, as well as deprivation of liberty.

155. Asaresult of the above unconstitutional conduct, the City is liable for the conduct
of the Individual Defendants and any damages they caused under the doctrine of respondeat
superior.

156. Asa result of the aforesaid arrest, seize, apprehend, detention, Plaintiff sustained

personal injuries, along with public humiliation, embarrassment, shame, damage to reputation,
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indignity, loss of liberty, deprivation of her constitutional rights, and suffered emotional and mental

distress, in the amount to be determined by a jury after due trial.

FOURTEENTH CAUSE OF ACTION
Negligent Infliction of Emotional Distress

157. Plaintiff repeats, reiterates, and realleges the above paragraphs as if they were fully
set forth at length herein.

158. The actions described herein, Defendants, each acting intentionally, recklessly and
with utter disregard to the consequences of their actions and caused severe emotional distress to
the Plaintiff.

159. The actions described herein, Defendants, each acting intentionally, recklessly and
with utter disregard to the consequences of their actions and caused severe mental distress to the
Plaintiff who had to go to therapy to cope with the trauma.

160. As aresult of Defendants’ intentional infliction of emotional distress, Plaintiff was
caused to suffer personal injuries, violation of civil rights, public humiliation, embarrassment,
shame, damage to reputation, indignity, loss of liberty, deprivation of her constitutional rights, and

suffered emotional and mental distress.

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff requests that this Court:

a. Award compensatory damages to the Plaintiff against the Defendants, jointly and
severally in an amount to be determined by a jury after due trial.

b. Award punitive damages in an amount to be determined by a jury after due trial.

c. Award such other and further relief as this Court deems just proper, and equitable.

Dated: New York, NY
November | 2, 2024

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MERCY WELLINGTON
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Exhibit A
Date: October 27, 2015

Time: 10 AM
Location: Safe Horizon Rose House (126 West 127" Street, NY, NY 10027)

1. On or about 10AM on October 27", police officers from the 28" Precinct walked into my
apartment unit at the domestic shelter I have been residing in since 2014.

2, They informed me that I had to leave. I was afraid because where else were my children
and I were going to reside, so I told the officers that my children and I had nowhere else to go.

3. The officers made the decision in order to remove me out of my unit they would arrest me
for trespassing.

4. 1 informed the officers that I was not trespassing as a been a resident of Rose House for
over a year now.

5. Officers still arrested me. They told me the rules of the shelters or different from the rules
that would apply to a landlord-tenant matter.

6. I was taken out of the unit in handcuffs and brought to the precinct.

7. My children (ages 14, 13, 12} were not allowed were not allowed to enter the residence by
employees at Rose House when they returned home from school.

8. Safe Horizon weaponized the NYPD to have me arrested for trespassing.

9. After I was arrested, the ADA refused to prosecute and questioned how they can arrest a
domestic violence victim from a domestic violence shelter.

10. My children and I were not allowed to return to the shelter and went back to PATH (the
homeless shelter intake center). I re-apply to stay at another shelter with my kids. We were placed

in a DHS shelter run by WIN (Women In Need).
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11. Because of the arrest and being removed from Safe Horizon I lost the Section 8 voucher I
was given after my Civil Court case (index No. 100664/15).

12. A Claim was filed in the Comptroller Office on January 8, 2016. Claim No. 2016P1002199.

13. Another claim was filed with the Comptroller Office on January 8, 2016, for Safe Horizon
Rose House refusing to return my belongings that still remain in my unit since the day I was
atrested in October 2015. Only after securing and Order to Show Cause I was allowed to obtain
my properties. The claim number is 2016P1002266.

14. After losing my Section 8 Voucher I sued all agencies involved (my arrest, dismissal of
voucher, etc.) but the case was dismissed.

15. When it was time for my sons to go to high school, I took advantage of the Lacrosse
scholarship program at their school that gave them to go away to boarding school for high school.
They return to stay with me and their sister (my daughter) on school breaks from school in the
shelter.

16. My children were having a difficult time adjusting in the DHS shelter and it impacted them
mentally. I was appreciative of DHS approving them going to boarding school and returning back

to the shelter during school breaks.
17. While residing at WIN I requested a DHS case conference because I decided I no longer

wanted anymore vouchers to be able to find a place for me and my children, so that we can leave

the shelter.

18. Once I conference was granted, | informed the DHS representative that I did not want to
get back on public assistance, and would prefer to continue working, save up my money to afford

my own place when it is time to exit the shelter.
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19. A DHS representative contacted WIN and informed them that I did not need an open Public
Assistance case in order to reside there (WIN was harassing me to open back up my public
assistance case in order for them to obtain payment for my children and I to reside there). They
also informed them that I planned to leave the shelter when I saved enough money to get my own
place for my children and me.

20. When COVID-19 happened, it derailed my plans.

21.1 requested to apply for SOTA (Special One Time Program) to exit the shelter, but my
income wouldn’t allow us to apply.

22. In January 2022, I met with the new director of the WIN shelter to inform her that I plan
to move out after my youngest child graduates.

23. On or about August 9, 2022, WIN maintenance went into the unit my family and I were
staying in to fix a leak in the bathroom, but when I returned back to my unit, I noticed that that my
undergarments were taken out of the dressers and thrown about all throughout the unit.

24. I filed a complaint, but it was never addressed. Instead, I received an administrative letter
that stated that I was being transferred. The reason for the transfer was: (1) my children had aged
out of the family shelter, (2) DHS needed the unit we were in for the migrants.

25. [requested a hearing, but I was informed that I could not have a hearing because it was an
administrative transfer. I requested a State Fair Hearing to challenge the Transfer on or about
August 15, 2022. The hearing was held via telephone with DHS waving its appearance. The judge
quickly told me I could not challenge a DHS administration decision.

26. My family and I ended up going to AFLIC (adult intake) where three supervisors told me

my sons were not allowed in an adult shelter because they were under 21.
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27. We went back to PATH for placement but was placed in the adult shelter instead of a family
shelter for children under 21.

28. On or about August 14, 2022, my family and I were transferred to Harmonia adult shelter
run by Service for the Underserved (S:US). I met with my case worker and complied with what I
was required to do, even though the shelter did not have a kitchen. Due to the lack of kitchen in
the unit I was unable to prepare meals for my family, so much of my savings went into feeding my
family.

29.1 requested another State Fair Hearing on the matter to be transferred to a shelter for
children under 21.

30. After the hearing, I went back to DHS Ombudsman’s office and request an advocate on my
behalf for a DHS case conference. The Ombudsman’s office contacted S:US program director
Angela Mortimer regarding the DHS case conference. Ms. Mortimer stated she would contact

DHS regarding the case conference, but it was never scheduled.
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Exhibit B

1. In 2011 I applied to Human Resource Administration (HRA) for assistance in paying my
rent arreats after my roommate moved out and the economy was slow (causing me financial
hardship).

2. HRA approved my family and I for a FHEPS voucher. My arrears were paid the landlord.
A few months into the voucher FHEPS failed to pay its portion of the rent to the landlord.

3. October 2, 2012, I was evicted from my residence while all my children and I (along with
my aunt who was residing with us) remained inside the residence.

4. My family and I moved into a motel room in Howard Beach while I was fighting the
eviction in Queens Civil Court.

5. On October 28, 2012 (about 3 years before getting arrested by officers for trespassing at
Rose House) hurricane Sandy hit the Queens area. During the hurricane a friend of mines requested
if he could ride out the storm in the motel room that my children and I were staying at, which I
permitted.

6. The motel room that we were staying in got flooded from the hurricane. My family and I
(along with male friend) were evacuated and relocated to Queens College for shelter.

7. After the hurricane the Department of Housing Preservation and Development (HPD)
granted families affected by hurricane Sandy a Section 8 voucher. However, HPD named my friend
who was staying with us during the hurricane as the head of household on the Section 8 voucher
they gave my family and me.

8. Even after informing them of the error HPD refused to fix the mistake.

9, With the voucher in hand, we found a place to stay and moved in. Shortly after moving in

I learned my friend was abusing drugs and alcohol.
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10. Again, I request HPD to fix the mistake of placing him as the head of household on my
voucher because the constant domestic violence dispute frequently occurring in the household.

11. I was afraid for my children if things were to get more severe than they already were.

12. HPD informed me there is nothing they could do because he was the head of household,
even after making a complaint about the domestic violence dispute happening in the home.

13. HPD failed took take into consideration Title VI of the Violence Against Women
Reauthorization Act of 2013 when I informed them the domestic violence taking place in my
household. In 2013, Congress reauthorized the Violence Against Women Act (hereinafter
“VAWA”) recognizing the survivors of domestic violence often face housing discrimination and
risk of homelessness when seeking to leave abusive situations.

14. After filing my complaints with HPD, and them refusing to bifurcate the Section 8 voucher,
the domestic violence dispute only got worse as time passed. During the last domestic violence
incident the police were called, I was arrested and charged with being the primary aggressor (even
though both of us have sustained bruises and his bruises were from self-defense).

15. HPD failed to take into consideration Part M of VAWA which allows housing agencies to
bifurcate a lease (or voucher) in order to evict any individual who engaged in criminal activity
relating to domestic violence without terminating assistance to a victim of such criminal activity.

16. An order of protection was placed against me to stay away from my home. This order
would have kept me away from my children who would be residing with a man they had no relation
to this man.

17. In January 2014, I contacted Queens Legal Service (hereinafter “QLS”) seeking assistance
in bifurcating the Section 8 voucher. I received counseling and services of domestic violence. The

Jana Morace, the Director of Social Work at QLS provided HPD with documentation attesting to
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Exhibit D

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her professional belief that I was in fact a victim of domestic violence by my male friend and had
been wrongly excluded from my home.

18. In November 2014, my children and I were placed in a domestic violence shelter by HRA.
We were placed in Safe Horizon Rose for safety.

19. While in the shelter I was referred to Queens Legal Service regarding my housing matter
with HPD. I did an Article 78 demanding HPD bifurcate my Section 8 voucher. This matter was
filed in New York Supreme Court located at 60 Centre Street, Index No. 100664/15.

20. I submitted with the Article 78 motion documents to show the male friend has no relation
to my children (at time who were minors), along with proof proving that I was a victim of domestic
violence.

21. While that case was pending, in July 2015, the domestic violence criminal court case
against me in Queens Court was dismissed. The records were sealed due to this matter being a
speedy trial motion.

22. In October 2015 HPD granted me a new Section 8 voucher as relief for the Article 78
lawsuit filed against them. Even though I was granted a new Section 8 voucher, HPD was biased
in decision in giving me and my 3 minor children at the time, a two-bedroom voucher. Whereas
my abuser was still permitted to reside in the 3-bedroom apartment I was excluded from.

23. Though I protested against the two-bedroom apartment but I accepted as I wanted to get
my children and I out of the shelter that we have been residing in for over a year. After residing
there for over a year the HRA personnel started asking questions pertaining to my HPD matter.
Staff members at Safe Horizon Rose House started advising me that families are only allowed to

reside in there for only a year.
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24. HPD eventually offered me an apartment, and after filing out the necessary paperwork |
requested to view the apartment. But I was informed by Building management that it was in their
policy that I was not able to view the apartment without first signing the lease.

25. Building Management failed to take into consideration Title VII of the Civil Rights Act
1968, as amended by the Fair Housing Amendments Act of 1998. 42 U.S.C. § 3601 et seq. states
that “it shall be unlawful ... [t]o refuse to sell or rent after the making bona fide offer, or to refuse
negotiate for the sale or rental of a dwelling to any person because of ... sex”. Failure to allow me
to view the apartment before signing a lease is unlawful under the Fair Housing Act.

26. 1 informed HPD and Sage Horizon Rose House about the building management’s policy,
and neither agency advocated on my behalf to view the apartment before signing a lease.

27. After I refused to sign the lease since I was unable to view the apartment, Safe Horizon

Rose House gave me 48 hours to vacate the shelter.
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Exhibit C

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Case 1

Exhibit E

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Exhibit F

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Case 1

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x Gmail - Harmonia logout

Morey Wollagtan emorcywelllagton@gmaif.con>

Harmonla iogout

Vazquez, Nelly <NVAZQUEZ@dhs.nyc.gov> Mon, Aug 14, 2023 at 228 PM
To: Mercy Wellington <mercywellington@gmail.com>

you need te go back fo afic you are jog out

From: Mercy Wellington <mercywellington@gmail.com>
Sent: Monday, August 14, 2023 13:51

To: Vazquez, Nelly <NVAZQUEZ@dhs.nyc.gov>
Subject: [EXTERNAL] Harmonia logout

CAUTION: This email originated from outside of the organization. Do not click finks or open
attachments unless you recognize the sender and know the content is safe. Use the Phish
Alert Report button to report this email or forward suspected email to prsnghranyegoy aS an
attachment. : :

Hello Mr. Vazquez,your decision to log me out of Harmonia Is invalid. You have been misinformed by
Harmonia’s staff.

| have been a residence since August of 2022. } asked for a DHS case conference in October
regarding a some issues I’ve had here. Till this date, | have not received been Granted that request. |
have been in the building every night since f was transfer here. | was told that | was logged out by
Jameel Morad on Friday, this was false. |

Want to PATH, | was told | was not logged out.

Please advise me as to what fs going on.

Please provide me with documentation including your signature for this tog out

Thank you
Mercy Wellington

Exhibit G
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From: Mercy Wellington

<mercywellington@ gmail.com>

Sent: Monday, August 14, 2023 13:51

To: Vazquez, Nelly <NVAZQUEZ @dhs.nyc.gov>
Subject: [EXTERNAL] Harmonia logout

CAUTION: This email originated from outside of the
organization. Do not click links or open attachments
unless you recognize the sender and know the content
is safe. Use the Phish Alert Report button to report this
email or forward suspected email to phish @hra.nyc.gov
as an attachment.

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VIEW ENTIRE MESSAGE

me Aug 15, 2023 €, oo6
to Nelly v

Good morning Nelly, thank you for taking the
time out to respond to my email.
Please provide me with proper documentation
as is provided by DSS rules and regulations
regarding, “logout.”
Secondly, | don't know whether you noticed
that my case number is not one of AFIC, but
rather, PATH.
Why didn't you attempt to find out why that is
before you agreed to do this fraudulent “
logout.
| am in possession of the email you sent to
Lynn Gore. | will be forwarding it to my
advocate.

Thank you.

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Exhibit H

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Exhibit I

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UNITED STATES DISTRICT COURT

for the
SOUTHERN DISTRICT OF NEW YORK
o -- x
MERCY WELLINGTON, Case No.
Plaintiff,

-against-

THE CITY OF NEW YORK, a municipal entity;
Adams, Mayor of New York City; New York City Police
Department (NYPD); NYPD Commissioner THOMAS G.
DONLON; LT. DARRYL E. FONTAINE (Tax ID 937820);
POLICE OFFICER RAWSAN A. JACKSON (Shield No. 26636);
POLICE OFFICER KYLE M. LAGUARDIA (Shield No. 6801);
POLICE OFFICER KELVIN VILLEGASALMAZO (Shield No.
7782); POLICE OFFICER JOHN DOES # 1-4, individually
and in their official capacities (the name John Doe being
fictitious, as their true names are presently unknown); PERRY
PERLMUTTER, President and CEO of Services for the
Underserved (S:US); ANGELA MORTIMER, Program Director
at Harmonia S:US, individually and in their official capacities;
LYNN GORE, Administrative Assistant at Harmonia $:US,
individually and in their official capacities; THE STATE OF
NEW YORK; LETITIA “TISH” JAMES, Attorney General
for New York State; Human Resources Authority (HRA);
MOLLY WASOW PARK, Commissioner of Department of
Social Services (DSS); Department of Homeless Services (DHS);
New York City Department of Housing Preservation and
Development (HPD), ADOLFO CARRION JR.,
Commissioner of the New York City Department of Housing
Preservation and Development (HPD),
Defendants.

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SUMMONS IN A CIVIL ACTION

TO: The City of New York, 100 Church Street, New York, NY 10007
Mayor Eric Adams, Gracie Mansion, East 88" Street, New York, NY 10028
NYPD Commissioner Thomas G. Donlon, 1 Police Plaza, NY, NY 10038
NYPD, 1 Police Plaza, New York, NY 10038
LY. Darryl E. Fontaine (Tax ID 937820); address unknown
P.O. Rawsan A. Jackson (Shield No. 26636); address unknown
P.O. Kyle M. Laguardia (Shield No. 6801); address unknown
Case 1:24-cv-08743-JLR Document1i Filed 11/13/24 Page 52 of 52

P.O. Kelvin Villegasalmazo (Shield No.7782); address unknown

Police Officer John Does # 1-4, address unknown

Perry Perlmutter, 463 7" Avenue, 17 Floor, New York, NY 10018

Angela Mortimer; address unknown

Lynn Gore; address unknown

The State of New York; address unkown

Letitia“Tish” James, The Capitol, Albany, NY 12224

Human Resources Authority; 150 Greenwich Street, 38" Floor, NY, NY 10007
Molly Wasow Park, 150 Greenwich Street, 40" Floor, New York, NY 10007
Department of Homeless Services; 150 Greenwich St., 38" Floor, NY, NY 10007
HPD; 100 Gold Street, New York, NY 10038

Adolfo Carrion Jr., 100 Gold Street, New York, NY 10038

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
— 60 days if you are the United States or a United States agency, or an officer or employee of the
United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an
answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Mercy Wellington
1223 FDR Drive, Apt. 3C
New York, NY 10009

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

Date:

Signature of Clerk or Deputy Clerk
